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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW HAMPSHIRE


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                                       *
 UNITED STATES OF AMERICA              *
                                       *          20-cr-06-01-PB
              v.                       *          January 11, 2021
                                       *          11:01 a.m.
     CHRISTOPHER CANTWELL              *
                                       *
 * * * * * * * * * * * * * * * * * * * *


                 TRANSCRIPT OF TELEPHONE CONFERENCE
              BEFORE THE HONORABLE PAUL J. BARBADORO


 APPEARANCES:


 For the Government:          Anna Z. Krasinski, AUSA
                              U.S. Attorney's Office



 For the Defendant:           Eric Wolpin, Esq.
                              Jeffrey Levin, Esq.
                              Federal Defender Office




 Court Reporter:              Susan M. Bateman, RPR, CRR
                              Official Court Reporter
                              United States District Court
                              55 Pleasant Street
                              Concord, NH 03301
                              (603) 225-1453
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 1                         P R O C E E D I N G S

 2                 THE CLERK:    For the record, this is United States

 3    of America versus Christopher Cantwell, criminal case

 4    No. 20-cr-6-PB.

 5                 THE COURT:    All right.     Let me ask Mr. Levin or

 6    whoever is on the phone from the defense, how's Mr. Cantwell

 7    doing?

 8                 MR. WOLPIN:    I think I spoke with him on Friday,

 9    this is Attorney Wolpin, and he has been symptomatic but not I

10    mean requiring hospitalization or anything to that extreme,

11    but he was symptomatic last week.

12                 THE COURT:    Was he starting to get better or what

13    was the status of his condition over time?

14                 MR. LEVIN:    Yeah, my sense is, yes, he's -- they

15    moved him to -- he's now in a dual cell with another positive

16    individual, and my sense is it was on the upswing when we were

17    talking last week.

18                 THE COURT:    Uh-huh.    Uh-huh.

19                 Well, I've consulted with the Clerk about this and

20    reviewed the guidance we have from our expert as well as the

21    CDC and state information.       It appears likely to me that he

22    will be in a position that he could be sentenced on the 22nd

23    notwithstanding his COVID diagnosis because he will have

24    recovered and would not be contagious at that point in all

25    likelihood, but I do have a larger concern about whether it
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 1    makes sense to go forward.

 2                 I'm very concerned about holding public hearings

 3    right now because of the significance of the pandemic in our

 4    communities.     The risk of infection is just much higher than

 5    it was several months ago.

 6                 And so I'm thinking about whether it makes sense to

 7    postpone the sentencing for about a month to see if the

 8    prevalence numbers will come down sufficiently that the risk

 9    of transmission is reduced.

10                 Also, by the end of February the court security

11    officers in our building and the Marshal Service employees and

12    people who will be involved in overseeing the defendant and

13    managing the public will all have been vaccinated by that

14    point and so they would be at much reduced risk if I were to

15    postpone the sentencing until that date.

16                 Let me ask what the parties think about that.         I'll

17    first hear from the defense and then from the government.

18                 MR. WOLPIN:    I think from our client's perspective

19    ideally we would be going forward as scheduled.            I don't know

20    that I have a lot more to add beyond that.

21                 THE COURT:    Okay.    So your current desire would be

22    to try to do it in late January?

23                 MR. WOLPIN:    Yes.

24                 THE COURT:    Yeah, the problem isn't in my mind the

25    risk that your client poses to court employees.            It's the risk
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 1    that members of the public pose to court employees when I do

 2    hold a public hearing.       I haven't held a public hearing in

 3    court for several months.       I've been reluctant to do it right

 4    now because the prevalence numbers are so high.

 5                 What's the government's reaction?

 6                 MS. KRASINSKI:     Looking at the COVID numbers, you

 7    know, I certainly think that it makes sense to postpone it,

 8    but I understand the defendant's position given that he's the

 9    one who's in custody.      But for our safety, for court

10    security's safety, the government certainly wouldn't have an

11    objection to a continuance.

12                 THE COURT:    All right.     Well, Mr. Wolpin, I think

13    you should have an opportunity to consult with your client

14    about it.

15                 What I'm proposing is to move the sentencing off by

16    a month.    At that point even if I -- even if the prevalence

17    numbers remain high in the community, at that point all of my

18    officers will have been vaccinated and will be at low risk

19    of acquiring the disease, and I think that even if the

20    prevalence numbers are high, I can find a way to safely

21    conduct the hearing.

22                 I won't be vaccinated, my case manager won't be

23    vaccinated, the defense attorney and the prosecutor won't be

24    vaccinated, but I do believe the people that will have to have

25    the closest contact with the public will be vaccinated.
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 1                 So I would be willing -- unless the pandemic

 2    numbers exploded even further between now and then, I would be

 3    willing to hold the hearing in late February with appropriate

 4    precautions.

 5                 So what I'm proposing to do is to continue the

 6    hearing for approximately a month.         I should give you an

 7    opportunity to object to that after consulting with your

 8    client.     So why don't I state -- my proposal is to continue

 9    the hearing for about a month, and I would ask that if the

10    defendant has an objection that an objection be filed by the

11    end of the day on Friday.         I'll review the objection and then

12    make the appropriate ruling.

13                 Do you have anything else, Mr. Wolpin, you would

14    like to say about the matter now?

15                 MR. WOLPIN:    No.     Not at this time.    Thank you.

16                 THE COURT:    Okay.     Anything else from the

17    government?

18                 MS. KRASINSKI:       No, your Honor.   Thank you.

19                 THE COURT:    Okay.     So I'll just look for a response

20    from you by Friday, or if you're not going to file one, then

21    I'll just go ahead and move the case.          But if you file a

22    response, I'll review it before making a final decision.

23                 Okay.   That concludes the call.       Thank you

24    everyone.

25                 MR. LEVIN:    Thanks.
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 1                 MR. WOLPIN:    Thank you.

 2                 THE COURT:    Bye-bye.

 3                 (Conclusion of hearing at 11:08 a.m.)

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 1                       C E R T I F I C A T E

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 4             I, Susan M. Bateman, do hereby certify that the

 5    foregoing transcript is a true and accurate transcription of

 6    the within proceedings, to the best of my knowledge, skill,

 7    ability and belief.

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10    Submitted: 5-4-21          /s/   Susan M. Bateman
                                 SUSAN M. BATEMAN, RPR, CRR
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